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                               UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

  DAVID ROWE, FRED PARLATO, AND Case No. 8:18-cv-00147-VMC-JSS
  DANA NORRIS, individually and on behalf of
  all others similarly situated,             CLASS ACTION

                    Plaintiffs,                      JURY TRIAL DEMANDED

  v.

  LOANDEPOT.COM, LLC, a Delaware limited
  liability company

                    Defendant.


                           PLAINTIFFS’ UNOPPOSED MOTION TO
                          CONTINUE CASE MANAGEMENT HEARING

       Plaintiffs Fred Parlato and Dana Norris, respectfully request the continuance of the Case

Management Hearing presently scheduled for June 1, 2018, and in support state:

       1.       This is a putative class action under the Telephone Consumer Protection Act.

Plaintiffs filed their Complaint on January 18, 2018. [ECF No. 1].

       2.       On January 23, 2018, the Court issued its Fast-Track Scheduling Order. [ECF No.

8].

       3.       Pursuant to the Court’s Scheduling Order, the parties attended mediation on May

25, 2018, but were unable to resolve the case.

       4.       On May 29, 2018, the parties submitted their proposed Case Management Report.

[ECF No. 38].

       5.       Subsequently, the Court entered a Notice of Hearing, scheduling a Case

Management Hearing for June 1, 2018 at 9:45 a.m., and requiring lead counsel for the parties to

appear in person.

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       6.      Lead counsel for Plaintiffs, Manuel S. Hiraldo, is unable to attend the Case

Management Hearing for personal reasons.

       7.      Specifically, the undersigned’s spouse will be traveling for work from May 31

through June 1, 2018. The undersigned is located in Fort Lauderdale and has been unable to obtain

childcare on short notice.

       8.      As noted by the Court, the “hearing is an investment of the Court's time and presents

an opportunity for Counsel to meet the judge presiding over their case as well as present any issues

that should be called to the Court's attention.” [ECF No. 40].

       9.      Plaintiffs and the undersigned value the Court’s time and resources, and appreciate

the opportunity to discuss their case with the Court.

       10.     Thus, Plaintiffs respectfully request the continuance of the Case Management

Hearing to permit their lead counsel to appear in person.

       11.     Defendant does not oppose the requested relief.

       12.     Plaintiffs’ request is made in good faith and not for purposes of delay.

       WHEREFORE, Plaintiffs Fred Parlato and Dana Norris respectfully request this Court

enter an order continuing the Case Management Hearing, and for such other relief deemed

appropriate under the circumstances.

                         COMPLIANCE WITH LOCAL RULE 3.01

       The undersigned hereby certifies that he conferred with counsel for Defendant, and

Defendant does not oppose the requested relief.




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Dated: May 30, 2018

Respectfully submitted,

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                                             P.A.
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                                CERTIFICATE OF SERVICE

       I HEREBY CETIFY that on May 30, 2018, I electronically filed the foregoing document

with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

served this day on all counsel of record via transmission of Notice of Electronic Filing generated

by CM/ECF.



                                                    /s/ Manuel S. Hiraldo
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